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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION
LEAGUE OF UNITED LATIN AMERICAN            §
CITIZENS, et al.                           §
                                           §
               Plaintiffs,                 §
                                                      Case No. 3:21-cv-00259
V.                                         §
                                                           [Lead Case]
                                           §
GREG ABBOTT, et al.,                       §
                                           §
               Defendants.                 §

ROY CHARLES BROOKS, et al.                 §
                                           §
               Plaintiffs,                 §
V.                                         §
                                           §          Case No. 1:21-cv-00988
                                           §           [Consolidated Case]
GREG ABBOTT, et al.,                       §
                                           §
               Defendants.                 §

                             DEFENDANTS’ MOTION TO DISMISS
                              THE BROOKS PLAINTIFFS’ CLAIMS
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                                             INTRODUCTION

        The Brooks Plaintiffs present their claims as a narrow challenge to a single Senate district, but

their legal theories would have radical consequences that the Supreme Court has already rejected. The

Court should dismiss their complaint for failure to state a claim or lack of subject-matter jurisdiction.

        First, Plaintiffs contend that Section 2 of the Voting Rights Act required the Legislature to

create a “coalition district,” in which black and Hispanic voters would combine to constitute an

electoral majority. But under Thornburg v. Gingles, Section 2 does not apply unless a single minority

group would constitute a majority of the proposed district. 478 U.S. 30, 50 (1986). The Supreme Court

has repeatedly rejected attempts to expand Section 2 beyond Gingles. Requiring States to create

coalition districts would upend redistricting in a way the Supreme Court has never approved.

        Second, despite the absence of factual support for their assertion, Plaintiffs contend that the

Legislature altered SD10 for racially discriminatory reasons. But the facts they allege support an

opposite conclusion: That the Legislature sought partisan advantage. And partisan motives are neither

unexpected nor invidious, and they do not support claims of intentional racial discrimination.

        In any event, jurisdictional and procedural problems prevent Plaintiffs from pursuing these

claims without, at least, repleading. Plaintiffs lack standing because, among other reasons, they do not

allege that they intend to vote in any future election. Plaintiffs also do not have a private cause of

action for their statutory claims.

                                                STANDARD

        A plaintiff must “give the defendant fair notice of what the claim is and the grounds upon

which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007) (quoting Conley v. Gibson, 355 U.S.

41, 47 (1957)). “[A] plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

more than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Id. at 555. “To survive a motion to dismiss, a complaint must contain sufficient factual matter,



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accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (quoting Twombly, 550 U.S. at 570). “Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Id.

                                                ARGUMENT

I.      Plaintiffs Have Not Plausibly Alleged a Discriminatory-Effects Claim

        Plaintiffs demand a “coalition district” in which “Black and Hispanic voters” together form a

majority, ECF 1 ¶ 109; see also id. ¶ 6, but the Voting Rights Act never requires coalition districts..

Coalition districts, by definition, cannot satisfy the first Gingles precondition. Moreover, on this

complaint, Plaintiffs have failed to plausibly allege that the remaining Gingles preconditions are satisfied

or that the totality of the circumstances requires transforming SD10 into a coalition district.

         “Failure to establish any one of these threshold requirements is fatal.” Campos v. City of Houston,

113 F.3d 544, 547 (5th Cir. 1997). Plaintiffs’ sole discriminatory-effects claim should be dismissed.

     A. Coalition Districts Fail the First Gingles Precondition

        In Thornburg v. Gingles, the Supreme Court established three “preconditions” for a Section 2

discriminatory-effects claim. 478 U.S. 30, 50 (1986); see Growe v. Emison, 507 U.S. 25, 40–41 (1993)

(rejecting a challenge to single-member district under the Gingles preconditions). The first precondition

is that “the minority group must be able to demonstrate that it is sufficiently large and geographically

compact to constitute a majority in a single-member district.” Gingles, 478 U.S. at 50. Plaintiffs’ claim

fails this requirement because no single group constitutes a majority of the proposed coalition district.

        There is no fact dispute here. Plaintiffs do not allege that either black voters or Hispanic voters

standing alone could “constitute a majority in a single-member district.” Id. On the contrary: they allege

only that “Black and Hispanic voters” together “constitute a majority in a single member senate district.”

ECF 1 ¶ 105. As a result, the Court faces a pure question of law: Can Plaintiffs satisfy the first Gingles

precondition where no single group can form a majority in the proposed single-member district?



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        The answer is no. The Supreme Court has never found a violation of Section 2 based on a

State’s decision not to draw a coalition district when the plaintiff could not show that a single minority

group would constitute a majority in the proposed district. In fact, in Bartlett v. Strickland, the Supreme

Court rejected crossover districts (i.e., districts in which a subset of white voters join with a minority

group to form an electoral majority). See 556 U.S. 1, 13 (2009) (plurality). 1 And in Perry v. Perez, the

Supreme Court made clear that Bartlett’s reasoning applied to coalition districts as well. See 565 U.S.

388, 399 (2012).

        1. Supreme Court Precedent Forecloses Requiring Coalition Districts

        Under the first Gingles precondition, Plaintiffs must plausibly allege “that their minority group

exceeds 50% of the relevant population in the demonstration district.” Valdespino v. Alamo Heights

Indep. Sch. Dist., 168 F.3d 848, 852–53 (5th Cir. 1999); see also Bartlett, 556 U.S. at 13 (a district may be

required where “a minority group composes a numerical, working majority of the voting-age

population”). Because of this requirement, the Supreme Court has refused to require either “influence

districts, in which a minority group can influence the outcome of an election even if its preferred

candidate cannot be elected,” or crossover districts, in which “the minority population, at least

potentially, is large enough to elect the candidate of its choice with help from voters who are members

of the majority and who cross over to support the minority’s preferred candidate.” Bartlett, 556 U.S.

at 13. For similar reasons, Section 2 does not mandate the creation of coalition districts.

        Bartlett’s reasoning rejecting crossover districts applies with equal force to coalition districts. A

violation of the Voting Rights Act occurs where “members of a class of citizens protected” by


1   Bartlett was decided by a 5-4 vote. The five votes to reverse comprised a three-justice plurality (Justice
    Kennedy, joined by Chief Justice Roberts and Justice Alito) and a two-justice concurrence (Justice Thomas,
    joined by Justice Scalia). The concurrence would have reversed on the basis that Section 2 “does not
    authorize any vote dilution claim” and therefore would have refused to apply the Gingles framework. 556
    U.S. at 26 (Thomas, J., concurring). Because the plurality states the narrowest ground on which the
    judgment was reached, it is the controlling opinion. See Marks v. United States, 430 U.S. 188, 193–94 (1977).



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Section 2 “have less opportunity than other members of the electorate to participate in the political

process and to elect representatives of their choice.” 52 U.S.C. § 10301(b). But coalition districts are,

by definition, those “in which two minority groups form a coalition to elect the candidate of the

coalition’s choice.” Bartlett, 556 U.S. at 13 (emphasis added). As the Court explained, “[t]here is a

difference between a racial minority group’s ‘own choice’ and the choice made by a coalition.” Id. at

15. Plaintiffs’ claim is thus “contrary to the mandate of § 2.” Id. at 14.

        Indeed, the Court specifically recognized that “[n]othing in § 2 grants special protection to a

minority group’s right to form political coalitions.” Id. at 15. Where a minority group does not

constitute a numerical majority in the proposed district, members of that group would merely possess

“the opportunity to join other voters—including other racial minorities, or whites, or both—to reach

a majority and elect their preferred candidate.” Id. at 14. Recognition of a Section 2 claim where

minority group members cannot elect their preferred candidate “based on their own votes and without

assistance from others” would impermissibly “grant minority voters ‘a right to preserve their strength

for the purposes of forging an advantageous political alliance.’” Id. at 14–15 (quoting Hall v. Virginia,

385 F.3d 421, 431 (4th Cir. 2004)). The Voting Rights Act contains no such right, as “minority voters

are not immune from the obligation to pull, haul, and trade to find common political ground.” Id. at

15 (quoting Johnson v. De Grandy, 512 U.S. 997, 1020 (1994)).

        2. Fifth Circuit Precedent to the Contrary Was Wrong and Has Been Overruled

        Campos v. City of Baytown, 840 F.2d 1240 (5th Cir. 1988), does not require otherwise. True, the

Campos court held that if the combination of black and Latino voters “are of such numbers residing

geographically so as to constitute a majority in a single member district, they cross the Gingles threshold

as potentially disadvantaged voters.” Id. at 1244. This Court, however, should decline to follow Campos.

Its flawed reasoning is not only inconsistent with the Supreme Court’s later decisions in Bartlett and

Perez but also not binding in this unusual procedural posture.



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        The flaws inherent in the Campos decision were recognized from the outset, including in Judge

Higginbotham’s dissent from the denial of rehearing en banc, which five of his colleagues joined.

Judge Higginbotham found Campos’s assumption “that a group composed of both [Black and

Hispanic] minorities is itself a protected minority” to be “an unwarranted extension of congressional

intent.” Campos v. City of Baytown, 849 F.2d 943, 945 (5th Cir. 1988) (Higginbotham, J., dissenting from

denial of rehg. en banc). Coalition groups are outside the Gingles framework because that case’s “three

step inquiry assumes a group unified by race or national origin and asks if it is cohesive in its voting.”

Id. (quoting LULAC v. Midland Indep. Sch. Dist., 812 F.2d 1494, 1504 (5th Cir.1987) (Higginbotham,

J., dissenting)). Channeling the sentiments that would later animate the Supreme Court in Bartlett,

Judge Higginbotham observed that “[a] group tied by overlapping political agendas but not tied by the

same statutory disability is no more than a political alliance or coalition.” Id.

        Nor were Judge Higginbotham and his five colleagues the only ones to see how Campos

contradicted Gingles and Section 2. Nearly a decade later, the Sixth Circuit announced that it “share[d]

the concerns articulated by Judge Higginbotham in his dissent from the denial of rehearing.” Nixon v.

Kent County, 76 F.3d 1381, 1388 (6th Cir. 1996). Among those concerns were that coalition districts

would “effectively eliminate” the first Gingles requirement. Id. at 1391. That requirement “necessarily

recognizes that, in some cases, a minority will not be numerous enough to prove a violation of the

Voting Rights Act because it fails to constitute a majority in a single member district.” Id. (internal

quotation marks and citation omitted). Coalition districts would present an exception to the first

Gingles requirement that would swallow the rule. The Sixth Circuit thus rejected this misreading,

holding that “[t]he language of the Voting Rights Act does not support a conclusion that coalition

suits are part of Congress’ remedial purpose and, as previously discussed, there are compelling reasons

to believe that they are not.” Id. at 1393.




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        Fortunately, Campos has been overruled. Even when a Fifth Circuit opinion is “squarely on

point,” it does not bind lower courts after “intervening and overriding Supreme Court decisions.”

White v. Estelle, 720 F.2d 415, 417 (5th Cir. 1983). In analyzing whether a later Supreme Court decision

abrogated an earlier Fifth Circuit decision, “[t]he overriding consideration is the similarity of the issues

decided.” Gahagan v. U.S. Citizenship & Immig. Servs., 911 F.3d 298, 303 (5th Cir. 2018). As a result,

“intervening Supreme Court authority need not be precisely on point, if the legal reasoning is directly

applicable.” Ne. Ohio Coal. for the Homeless v. Husted, 831 F.3d 686, 720–21 (6th Cir. 2016); see also Troy

v. Samson Mfg. Corp., 758 F.3d 1322, 1326 (Fed. Cir. 2014) (“issues decided by the higher court need

not be identical to be controlling”). It is sufficient that the Supreme Court has “undercut the theory

or reasoning underlying the prior circuit precedent in such a way that the cases are clearly

irreconcilable.” Miller v. Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en banc). “[A] district court or a

three-judge panel is free to reexamine the holding of a prior panel in light of an inconsistent decision

by a court of last resort on a closely related, but not identical issue.” Dippin’ Dots, Inc. v. Mosey, 602

F. Supp. 2d 777, 785 n.3 (N.D. Tex. 2009) (quoting Miller, 335 F.3d at 899).

        As discussed in detail above, Bartlett’s treatment of crossover districts applies with equal force

to coalition districts. That opinion analyzes in detail why Section 2 protects individual racial and

language minority groups and does not protect political coalitions between groups. See Bartlett, 556

U.S. at 13–15. By contrast, Campos “cites no authority and offers no reasoning to support its fiat.”

Campos, 849 F.2d at 945 (Higginbotham, J., dissenting from denial of rehg. en banc).

        The only “reasoning” in Campos was the truism that Section 2 “protects the right to vote of

both racial and language minorities.” Campos, 840 F.2d at 1244. But the extension of “voting rights

protection to language minorities does not answer the question whether Congress intended to extend

protection to a group consisting of two distinct minority groups.” Campos, 849 F.2d at 945

(Higginbotham, J., dissenting from denial of rehg. en banc). And that reasoning is inconsistent with



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Bartlett. No one doubts that “Section 2 broadly protects the voting rights of all voters, even those who

are white.” United States v. Brown, 494 F. Supp. 2d 440, 446 (S.D. Miss. 2007), aff’d, 561 F.3d 420 (5th

Cir. 2009). Bartlett nonetheless rejected crossover districts that rely on white voters to form an electoral

majority. 556 U.S. at 14.

        If any doubt remained following Bartlett, the Supreme Court dispelled it in Perry v. Perez, 565

U.S. 388 (2012). There, the Court rejected a proposed coalition district, holding:

        The [district] court’s order suggests that it may have intentionally drawn District 33 as
        a “minority coalition opportunity district” in which the court expected two different
        minority groups to band together to form an electoral majority. . . . If the District
        Court did set out to create a minority coalition district, rather than drawing a district
        that simply reflected population growth, it had no basis for doing so. Cf. Bartlett v.
        Strickland, 556 U.S. 1, 13–15 (2009) (plurality opinion).

565 U.S. at 399. Because it was “unclear whether the District Court . . . followed the appropriate

standards in drawing interim maps,” the Supreme Court vacated the district court’s ruling. Id.

        The Supreme Court recognized that the coalition-district issue in Perez was not identical to the

crossover-district issue in Bartlett. That is why it employed a “cf.” signal. That signal literally means

“compare” and is used when the “[c]ited authority supports a proposition different from the main

proposition but sufficiently analogous to lend support.” The Bluebook: A Uniform System of Citation rule

1.2(a) (21st ed. 2020). At the same time, the Supreme Court thought that the issues were sufficiently

analogous that there was no need for extensive discussion; citing the portion of Bartlett discussed above

was sufficient.

                                             *       *       *

        This Court should dismiss Plaintiffs’ discriminatory-effects claim because they cannot satisfy

the first Gingles precondition. A plaintiff who proposes a coalition district has necessarily failed to

plausibly allege that “the minority group . . . is sufficiently large and geographically compact to

constitute a majority in a single-member district.” Gingles, 478 U.S. at 50.




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    B. Plaintiffs Do Not Plausibly Allege that Black and Latino Voters in SD10 Are Politically
       Cohesive

        Even if Plaintiffs could satisfy the first Gingles precondition, they would still fail the second

precondition: “[T]he minority group must be able to show that it is politically cohesive.” 478 U.S. at

51. Plaintiffs do not allege any facts to establish this requirement. Even their conclusory assertions are

bare bones. Count V includes only one paragraph on political cohesion, which states, in its entirety:

“Black and Hispanic voters in Tarrant County are politically cohesive.” ECF 1 ¶ 106. The only other

paragraph to address cohesion offers little more:

        Black and Hispanic voters in Tarrant County are politically cohesive. General elections
        are most probative, given the high voter participation and the political unity that exists
        within the choice of which party’s primary to vote in. But both recent general and
        primary elections illustrate the strong cohesion between Tarrant County’s Black and
        Hispanic voters.

Id. ¶ 80. That is nothing more than a “formulaic recitation” of the second Gingles element. Twombly,

550 U.S. at 555. Such “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678.

        Plaintiffs cannot satisfy their pleading burden by broadly referring to unspecified “recent

general and primary elections.” ECF 1 ¶ 80. That is especially true in light of the “obvious alternative

explanation” for any similar voting patterns: partisanship. Twombly, 550 U.S. at 567. Indeed, it is

Plaintiffs’ burden to disprove “that partisan affiliation, not race, best explains” any alleged bloc voting.

LULAC v. Clements, 999 F.2d 831, 850 (5th Cir. 1993) (en banc). By neglecting to even mention

partisanship as an explanation, much less address the extent to which partisanship accounts for any

similar voting behavior, Plaintiffs have failed to “nudge[] their claims across the line from conceivable

to plausible.” Twombly, 550 U.S. at 570.

        Plaintiffs’ allegations would not suffice in any Section 2 case, but they are particularly deficient

here because Plaintiffs propose a coalition district. Even before it swept away that assumption in

Bartlett and Perry v. Perez, when the Supreme Court “[a]ssum[ed] (without deciding) that it was


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permissible for [a] District Court to combine distinct ethnic and language minority groups for

purposes of assessing compliance with § 2,” it found that there was “quite obviously a higher-than-

usual need for the second of the Gingles showings.” Growe, 507 U.S. at 41. Indeed, “when dilution of

the power of such an agglomerated political bloc is the basis for an alleged violation, proof of minority

political cohesion is all the more essential.” Id. Accordingly, even when Campos erroneously required

the Fifth Circuit to assume that coalition districts could satisfy the first Gingles precondition, that court

did not hesitate to dismiss cases proposing coalition districts based on the plaintiff’s failure to meet

the second Gingles precondition. See, e.g., Rollins v. Fort Bend Indep. Sch. Dist., 89 F.3d 1205, 1216 n.21

(5th Cir. 1996) (affirming dismissal where statistical evidence did not establish cohesion and “[n]o

concrete, reliable, or credible evidence was presented at trial that Hispanic and African-American

communities work together to accomplish common goals”); Brewer v. Ham, 876 F.2d 448, 453 (5th Cir.

1989) (affirming dismissal due to “lack of statistical evidence of inter-minority political cohesion”). 2

    C. Plaintiffs Do Not Allege Facts Supporting the Third Gingles Precondition

        In addition, Plaintiffs do not allege facts supporting the final Gingles precondition, namely,

“that the white majority votes sufficiently as a bloc to enable it . . . usually to defeat the minority’s

preferred candidate.” Gingles, 478 U.S. at 50–51 (citation omitted). Satisfying this requirement is a

“bright-line test,” Valdespino, 168 F.3d at 852, and Plaintiffs’ failure to satisfy it “is fatal.” Harding v.

Cnty. of Dallas, 948 F.3d 302, 308 (5th Cir. 2020) (quotation omitted).




2   Plaintiffs are also wrong to suggest that “[g]eneral elections are most probative” when determining whether
    two minority groups are politically cohesive. ECF 1 ¶ 80. Quite the opposite is true. “Where, as here, the
    two minority groups are generally affiliated/registered with the same party (Democratic) and vote for that
    party’s candidates at high rates, primary elections for that party’s candidate are by far the most probative
    evidence of cohesion.” Rodriguez v. Pataki, 308 F. Supp. 2d 346, 421 (S.D.N.Y. 2004) (three-judge court)
    (per curiam), aff’d, 543 U.S. 997 (2004). But the Court need not confront that issue at this stage because
    Plaintiffs have not alleged facts regarding either primary or general election results in their proposed district.



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         As to bloc voting, Plaintiffs’ conclusory allegation in Count V, which merely recites the Gingles

requirement, cannot suffice. See ECF 1 ¶ 107. The closest Plaintiffs come is alleging that the newly

constituted SD10 would have favored five Republican candidates in 2018 and 2020. See id. ¶ 47. But

the complaint does not address whether the alleged “failure of minority-preferred candidates to receive

support from a majority of whites on a regular basis” is due to “illegal vote dilution” or simple

“political defeat.” LULAC v. Clements, 999 F.2d at 850. Allowing allegations such as these to suffice

to establish “legally significant racial bloc voting,” would “loose[] § 2 from its racial tether.” Id.

II.      The Plaintiffs Have Not Alleged Facts Stating a Claim of Intentional Discrimination.

         Plaintiffs also have not plausibly alleged their intentional-discrimination claims. See ECF 1

¶¶ 94–99.

         Plaintiffs have not alleged facts that would allow the Court to infer a discriminatory purpose.

In redistricting cases, “the good faith of a state legislature must be presumed.” Miller v. Johnson, 515

U.S. 900, 915 (1995). It is “plaintiffs’ burden to overcome the presumption of legislative good faith

and show that the [Texas] Legislature acted with invidious intent.” Abbott v. Perez, 138 S. Ct. 2305,

2325 (2018). The required intent is not mere “volition” or “awareness of consequences.” Personnel

Admr. of Mass. v. Feeney, 442 U.S. 256, 279 (1979). It requires that the Legislature have passed a law

“‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.” Id.

         Plaintiffs have not plausibly alleged discriminatory intent here. On the contrary, Plaintiffs

allege facts suggesting the Legislature’s motive was not racial, but merely partisan. According to

Plaintiffs, SD10 previously supported Democratic candidates. See ECF 1 ¶ 37 (alleging Democrats

won eight of eight races in the old SD10). In the newly redistricted SD10, on the other hand,

Republican candidates stand a much better chance of winning. See id. ¶ 47 (alleging Republicans would

have won five of five races in the new SD10). “[P]artisan motives are not the same as racial motives.”




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Brnovich v. Democratic Natl. Cmte., 141 S. Ct. 2321, 2349 (2021). Plaintiffs cannot rebut the inference

supported by their own allegations: A partisan legislature acted for partisan reasons.

        First, Plaintiffs allege that the bill’s opponents, especially Plaintiff Beverly Powell herself, tried

to inject race into the Legislature’s consideration of SD10. See, e.g., ECF 1 ¶¶ 57–60. Of course,

legislators are not obligated to credit the opinions of a bill’s opponents. As the Supreme Court has

recognized, a bill’s “legislative opponents,” “[i]n their zeal to defeat a bill,” “understandably tend to

overstate its reach.” NLRB v. Fruit & Vegetable Packers & Warehousemen, Local 760, 377 U.S. 58, 66

(1964). The most that Plaintiffs’ allegations establish is that other legislators were aware of Plaintiff

Powell’s allegations of discrimination. But there is no reason to think that they agreed with her

assessments. In any event, alleged “awareness of consequences” does not establish discriminatory

intent. Feeney, 442 U.S. at 279. Mere awareness is “consistent with” invidious intent, but it is “just as

much in line with” other motives. Twombly, 550 U.S. at 554. Because Plaintiffs’ factual allegations are

equally consistent with the Legislature acting “in spite of” rather than “because of” the alleged racial

consequences of the redistricting maps, they have not plausibly alleged invidious discrimination. Feeney,

442 U.S. at 279; see Twombly, 550 U.S. at 557 (explaining “[t]he need at the pleading stage for allegations

plausibly suggesting (not merely consistent with)” a legal violation).

        Mere awareness of racial consequences is especially insufficient in the redistricting context.

“[E]vidence tending to show that the legislature was aware of the racial composition of” a district “is

inadequate to establish injury in fact,” much less a violation on the merits. United States v. Hays, 515

U.S. 737, 745–46 (1995). “[T]he legislature always is aware of race when it draws district lines, just as

it is aware of age, economic status, religious and political persuasion, and a variety of other

demographic factors. That sort of race consciousness does not lead inevitably to impermissible race

discrimination.” Shaw v. Reno, 509 U.S. 630, 646 (1993).




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        Second, Plaintiffs claim to have identified “departures from the normal procedures and from

the substantive considerations usually deemed important by the Legislature in redistricting.” ECF 1

¶ 68. Plaintiffs allege that legislators gave “little advance notice” regarding proposed maps and did not

hold “field hearings.” Id. ¶¶ 68–69. There is, however, an “obvious alternative explanation” for these

alleged departures: the COIVD-19 pandemic. Twombly, 550 U.S. at 567. As Plaintiffs’ complaint

acknowledges, the federal government did not deliver the data necessary for redistricting until August

12, 2021. See ECF 1 ¶ 27. That was more than four months after the statutory deadline of April 1. See

13 U.S.C. § 141(a), (c). That forced the Legislature to redistrict during a special session, which is

constitutionally limited to thirty days, rather than during its longer, regular session. See Tex. Const. art.

III, § 40. With a compressed schedule due to pandemic-related delays, an allegedly rushed process

would hardly be surprising, much less give a reason to infer intentional invidious discrimination. In

Perez, the Supreme Court could “not see how the brevity of the legislative process can give rise to an

inference of bad faith.” 138 S. Ct. at 2328–29. The evidence there was insufficient; Plaintiffs’

allegations here are even weaker.

        Plaintiffs also point to an alleged failure to keep Plaintiff Powell “informed” about the

redistricting process, see ECF 1 ¶ 71, but there is again an “obvious alternative explanation.” Twombly,

550 U.S. at 567. Everyone knew that Plaintiff Powell would oppose the changes to her district because

they negatively affect her chances of winning reelection. A bill’s supporters have little reason to keep

a sure opponent of that bill “informed” about its progress. The failure to inform one’s legislative

opponent is not a basis for inferring intentional invidious discrimination, much less intentional

invidious discrimination against racial and ethnic groups to which that opponent does not belong.

        Third, Plaintiffs claim that the “historical background” and “specific sequence of events” reveal

a discriminatory purpose. ECF 1 ¶¶ 72–73. Yet the only “background” to which Plaintiffs point is a

contested 2012 court ruling that was vacated after the underlying federal statute was ruled



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unconstitutional. See Texas v. United States, 887 F. Supp. 2d 133 (D.D.C. 2012), vacated, 570 U.S. 928

(2013); see also Abbott v. Perez, 138 S. Ct. 2305, 2330 (2018) (“Before our decision in Shelby County

mooted Texas’s appeal . . . , Texas filed a jurisdictional statement claiming that the D.C. court made

numerous errors. . . .”). In any event, even if one believed that the 2011 map was enacted with a

discriminatory purpose—it was not—that would not be probative of the intent of a different group

of legislators in enacting a different map at a different time. In the last round of Texas redistricting,

the Supreme Court specifically faulted the district court for “requir[ing] the State to show that the

2013 Legislature somehow purged the ‘taint’ that the court attributed to the defunct and never-used

plans enacted by a prior legislature in 2011.” Perez, 138 S. Ct. at 2324. The two-year-old taint that was

too attenuated to support a finding of fault in 2013 did not become less attenuated in the intervening

eight years.

        And the only “event” Plaintiffs identify is a single senator’s answers to Plaintiff Powell’s

questions. Conclusory assertions that those answers were “pretextual” are not plausible allegations of

fact. ECF 1 ¶ 73.

        In the end, Plaintiffs’ allegations are facially insufficient to rebut the presumption of good

faith. They focus almost exclusively on a single senator, Joan Huffman, who chaired the Senate

Redistricting Committee. The only other senators mentioned are Plaintiff Powell and Kel Seliger, two

opponents of the new Senate map. But Plaintiffs’ complaint does not include any allegations regarding

those who voted in favor of the new map. That is fatal to their claims. “[L]egislators who vote to

adopt a bill are not the agents of the bill’s sponsor or proponents” and cannot be presumed to have

adopted the motives Plaintiffs erroneously attribute to Senator Huffman. Brnovich, 141 S. Ct. at 2350.

III.    Plaintiffs Have Not Plausibly Alleged Standing

        Plaintiffs do not allege facts to establish standing. First, allegations that Plaintiffs are

“registered voters,” ECF 1 ¶¶ 8–14, are insufficient. DiMaio v. Democratic Natl. Cmte., 520 F.3d 1299,



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1302 (11th Cir. 2008) (per curiam). Indeed, an individual’s right to vote cannot be impaired if that

person does not intend to cast a ballot in the first place. Id. Nor are purported injuries redressable if

that individual does not vote in the election being challenged. Id. at 1303. Even allegations that an

individual “may, at some point . . . choose to cast a ballot” are insufficient because they “epitomize[]

speculative injury.” Townley v. Miller, 722 F.3d 1128, 1133 (9th Cir. 2013). Plaintiffs here do not even

allege that much.

        A “complaint undeniably fails the test for constitutional standing” when the plaintiff “never

allege[s] that he actually voted, nor even so much as suggested that he intended to vote in,” the election

at issue. DiMaio, 520 F.3d at 1302; see also Yazzie v. Hobbs, 977 F.3d 964, 967 (9th Cir. 2020) (per

curiam) (dismissing for lack of standing because “any allegation or showing as to, at a bare minimum,

whether any of the plaintiffs intend to vote in this general election” was “missing”); Gallagher v. N.Y.

State Bd. of Elections, 496 F. Supp. 3d 842, 850 (S.D.N.Y. 2020) (plaintiffs lacked standing to challenge

vote-by-mail deadline when none of them alleged an intention to cast an absentee ballot by mail).

Because they fail to allege an intention to vote in any election that would be conducted under the

challenged maps, Plaintiffs Roy Charles Brooks, Felipe Gutierrez, Phyllis Goines, Eva Bonilla, Clara

Faulkner, and Deborah Spell all lack standing under Article III.

        Second, the remaining Plaintiff, Beverly Powell, also fails to meet the requirements for

constitutional standing. She does not claim to be a registered voter. Instead, she claims standing as

“the incumbent state senator in SD10,” ECF 1 ¶ 15, but even if that were otherwise sufficient for

standing, Plaintiff Powell does not allege an intention to run for reelection. The challenged redistricting

“does not affect the membership or districts of the Senate of the 87th Texas Legislature,” including

Plaintiff Powell’s current status as an elected official. 3 A plaintiff who “does not allege that [she]


3   Senate Bill 4 § 4, 87th Leg., 3d C.S. (Oct. 15, 2021), https://capitol.texas.gov/tlodocs/873/billtext/pdf/
    SB00004F.pdf.



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intends to run for election” has failed to demonstrate a particularized injury. Dominguez v. District of

Columbia, 536 F. Supp. 2d 18, 25 (D.D.C. 2008); see also Green Party of Ark. v. Daniels, 4:09-cv-695, 2010

WL 11646587, at *3 (E.D. Ark. Apr. 15, 2010) (“whether [Plaintiff] intends to run for office” is an

issue that “relates to whether she has standing to proceed as a plaintiff”). Accordingly, Plaintiff Powell

also lacks Article III standing.

        Even assuming Plaintiff Powell intends to run for reelection, she would still lack standing

because she does not allege that she is a member of a minority group allegedly discriminated against.

Each count in Plaintiffs’ complaint rests on a theory of discrimination against black and Latino voters.

See ECF 1 ¶¶ 94–109. But the complaint conspicuously omits Plaintiff Powell’s race and ethnicity, see

id. ¶ 15, though it includes such information for the other Plaintiffs, see id. ¶¶ 9–14.

        Third, certain Plaintiffs lack standing to bring certain claims for independent reasons. Courts

analyze standing “on a claim-by-claim basis.” Hotze v. Hudspeth, 16 F.4th 1121, 1125 (5th Cir. 2021);

accord In re Gee, 941 F.3d 153, 170 (5th Cir. 2019) (per curiam).

        Counts 1–3 and 5 all rest on Plaintiffs’ contention that the Legislature should have drawn

SD10 to include more black and Hispanic voters. Plaintiffs’ proposal would not benefit them—and

the fact that the Legislature did not adopt it would not injure them—unless Plaintiffs would live in

SD10 under their proposed map. But Plaintiffs do not allege that any of them, much less all of them,

would live in SD10 if their proposed revisions were effective.

        Count 4 is a racial gerrymandering claim, see ECF 1 ¶¶ 100–03, so it requires each Plaintiff

bringing the claim to allege that “he or she, personally, has been injured by” a “racial classification.”

Hays, 515 U.S. at 744. But the complaint does not allege “why [any] particular [Plaintiff] was put in

one district or another.” Id. The Plaintiffs living outside SD10 cannot have standing unless they were

excluded because of their races or ethnicities, but Plaintiffs do not allege that. And at the very least,

the Plaintiffs living inside SD10 cannot bring Count IV because they already have what they want.



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IV.     Section 2 Does Not Give Plaintiffs an Implied Private Cause of Action

        Plaintiffs’ Section 2 claims, ECF 1 ¶¶ 94–95, 104–109, fail for an independent reason: There

is no private cause of action to enforce Section 2.

        The Supreme Court has never decided whether Section 2 contains an implied private cause of

action. It has often “[a]ssum[ed] . . . that there exists a private right of action to enforce” Section 2,

but it has never so held. City of Mobile v. Bolden, 446 U.S. 55, 60 (1980) (plurality). Decisions that “never

squarely addressed the issue,” but “at most assumed” an answer, are not binding “by way of stare

decisis.” Brecht v. Abrahamson, 507 U.S. 619, 631 (1993); see also Cooper Indus., Inc. v. Aviall Servs., Inc., 543

U.S. 157, 170 (2004). Thus, whether “the Voting Rights Act furnishes an implied cause of action under

§ 2” is “an open question.” Brnovich, 141 S. Ct. at 2350 (Gorsuch, J., concurring).

        “[P]rivate rights of action to enforce federal law must be created by Congress,” Alexander v.

Sandoval, 532 U.S. 275, 286 (2001), so answering that open question requires analyzing whether

Congress created a private cause of action in Section 2, despite its failure to say so in statutory text.

“The judicial task is to interpret the statute Congress has passed to determine whether it displays an

intent to create not just a private right but also a private remedy.” Id. Unless Congress expresses that

intent, “a cause of action does not exist and courts may not create one, no matter how desirable that

might be as a policy matter, or how compatible with the statute.” Id. at 286–87.

        There was once a time when federal courts “assumed it to be a proper judicial function to

‘provide such remedies as are necessary to make effective’ a statute’s purpose.” Ziglar v. Abbasi, 137

S. Ct. 1843, 1855 (2017) (quoting J.I. Case Co. v. Borak, 377 U.S. 426, 433 (1964)). But that time has

passed. Since jettisoning the “ancien regime,” id., the Supreme Court has “not returned to it.” Sandoval,

532 U.S. at 287. As a result, courts no longer rely “on pre-Sandoval reasoning.” Stokes v. Sw. Airlines,

887 F.3d 199, 205 (5th Cir. 2018).




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        Under Sandoval, Section 2 does not confer a private cause of action on Plaintiffs. It contains

no indication of a congressional intent to create a private right, much less a private remedy.

        “Statutes that focus on the person regulated rather than the individuals protected create no

implication of an intent to confer rights on a particular class of persons.” Sandoval, 532 U.S. at 289

(quotation omitted). And Section 2’s text focuses on the governmental officials it regulates, not

individual voters: “No voting qualification or prerequisite to voting or standard, practice, or procedure

shall be imposed or applied by any State or political subdivision in a manner which results in a denial or

abridgement of the right of any citizen of the United States to vote on account of race or color . . . .”

52 U.S.C. § 10301(a) (emphasis added). Because it “is framed in terms of the obligations imposed on

the regulated party” (government officials)—while voters are “referenced only as an object of that

obligation”—Section 2 does not create a private right. Logan v. U.S. Bank Natl. Assn., 722 F.3d 1163,

1171 (9th Cir. 2013). Language “framed as an instruction to the regulated entity, rather than to the

person protected,” does “not indicate a congressional intent to make a remedy available to private

litigants.” Conservation Force v. Delta Air Lines, Inc., 190 F. Supp. 3d 606, 616 (N.D. Tex. 2016), aff’d, 682

F. Appx. 310 (5th Cir. 2017).

        Although Section 2 does not contain any “‘rights-creating’ language[.]” Sandoval, 532 U.S. at

288. Though it refers to “the right . . . to vote,” 52 U.S.C. § 10301(a), that right is based on state law,

see Rodriguez v. Popular Democratic Party, 457 U.S. 1, 9 (1982), and the Fifteenth Amendment. Referring

to a right is not the same as creating one, and Section 2 thus does not create a federal right “in [the]

clear and unambiguous terms” that precedent requires. Gonzaga Univ. v. Doe, 536 U.S. 273, 290 (2002).

        Fractured opinions have suggested in dicta that Section 2 impliedly creates a private cause of

action. See Morse v. Republican Party of Va., 517 U.S. 186, 232–33 (1996) (minority opinion of Stevens,

J.) (quoting legislative history and discussing “a right to vote”); id. at 240 (Breyer, J., concurring in the

judgment) (similar). But those opinions are inconsistent with the later majority opinion in Sandoval,



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which limited its “search for Congress’s intent [to] the text and structure of” the statute. 532 U.S. at

288. “[D]ecisions before Sandoval frequently implied private rights of action without rigorous analysis;

they did so by making a somewhat cursory inspection of the statute and its legislative history.”

Conservation Force, 190 F. Supp. 3d at 616. They “are not binding nor persuasive.” Id. Thus, courts in

the Fifth Circuit refuse to rely “on pre-Sandoval reasoning.” Stokes, 887 F.3d at 205 (quoting Conservation

Force, 190 F. Supp. 3d at 616).

        In addition, other sections of the VRA make clear that Section 2 does not create a private

remedy. The VRA authorizes civil and criminal enforcement actions by the federal government. See

52 U.S.C. § 10308. “The express provision of one method of enforcing a substantive rule suggests

that Congress intended to preclude others.” Sandoval, 532 U.S. at 290. “Courts should presume that

Congress intended that the enforcement mechanism provided in the statute be exclusive.” Alsbrook v.

City of Maumelle, 184 F.3d 999, 1011 (8th Cir. 1999) (en banc).

        That other sections of the VRA contain implied private causes of action is irrelevant. In Allen

v. State Board of Elections, for example, the Supreme Court held that Section 5 of the Voting Rights Act

created a private cause of action because the language of that section—that “no person shall be denied

the right to vote,” 52 U.S.C. § 10304(a)—was “passed to protect a class of citizens,” that is, voters.

393 U.S. 544, 557 (1969). But in determining whether a statute creates implied causes of action, each

provision must be considered separately. See, e.g., Touche Ross & Co. v. Redington, 442 U.S. 560, 576–78

(1979) (rejecting an implied cause of action under Section 17(a) of the Securities Exchange Act of

1934 despite Borak’s earlier inferring one under Section 14(a) of the same act). And Allen analyzed

only Section 5; it did not consider Section 2’s language—that no improper “voting qualification or

prerequisite . . . shall be imposed or applied by any State or political subdivision,” 52 U.S.C.

§ 10301(a)—which focuses on the duties of the regulated parties. In any event, the Supreme Court




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has rejected Allen’s loose, legislative-history-based approach, see Sandoval, 532 U.S. at 287, even listing

Allen as an example of the now-abandoned “ancien regime,” Abbasi, 137 S. Ct. at 1855.

                                             CONCLUSION

        Defendants respectfully request that the Court dismiss the Brooks Plaintiffs’ claims.


Date: November 29, 2021                      Respectfully submitted.

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                                      CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on November 29, 2021, and that all counsel of record were served by CM/ECF.

                                                 /s/ Patrick K. Sweeten
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